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PROB 12A
(7/93)


                         UNITED STATES DISTRICT COURT
                                        for
                              Western District of Texas
                            Report on Offender Under Supervision

Name of Offender: Andrew Castillo                              Case Number: A-08-CR-286(1)-SS

Name of Sentencing Judicial Officer: Honorable Sam Sparks, Senior United States District Judge

Date of Original Sentence: December 22, 2008

Original Offense: Possession of a Firearm by a Convicted Felon, in violations of 18 U.S.C. §
922(g)(1), and 18 U.S.C. § 924(d)

Original Sentence: 120 months custody of the Bureau of Prisons, followed by a three (3) year term
of supervised release; with special conditions for alcohol abstinence, participation in substance
abuse and mental health program, financial disclosure, participation in workforce development
program, no contact with members or associates of the Texas Syndicate or any street gang

On October 27, 2011, an Order was signed by the Court regarding a motion for sentence reduction.
The offender’s sentence was reduced from 120 months of imprisonment to 66 months with all
other terms and provisions of the original judgment remain in effect.

Type of Supervision: Supervised Release            Date Supervision Commenced: August 5, 2019

Assistant U.S. Attorney: Grant Sparks              Defense Attorney: William H. Ibbotson (FPD)



                                PREVIOUS COURT ACTION

On September 25, 2020, a Report on Offender Under Supervision was submitted to the Court
notifying of the offender’s arrests for Driving While Intoxicated 3rd (Felony) and Possession of a
Controlled Substance-Pills (Methamphetamine), State Jail Felony, in Travis County, Texas. On
September 9, 2020, the offender was released on a surety bond. The probation officer
recommended no action to be taken at that time to allow the officer to monitor the cases and advise
the Court of the final disposition. The same date, Your Honor concurred with the probation
officer’s recommendation. It should be noted that Possession of a Controlled Substance-Pills
(Methamphetamine) case was rejected for prosecution by Travis County District Attorney’s Office
on September 17, 2020. The case of Driving While Intoxicated 3rd (Felony) is still pending. On
October 8, 2020, a felony warrant was issued for the offender’s arrest due to the offender’s non-
compliance while on bond and the warrant remains outstanding. Additionally, due to said law
violation, a parole warrant was issued for his arrest and remains pending.
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                                NONCOMPLIANCE SUMMARY


Violation of Standard Condition No. 2: “The defendant shall report to the Probation Officer and
shall submit a truthful and complete report within the first five days of each month.”

Nature of Noncompliance: The defendant has failed to report to the probation office for the
months of October, November, and December 2020.

U.S. Probation Officer Action: The officer’s attempts to contact the defendant through phone
calls and collateral contacts have been unsuccessful. The last successful phone call with the
defendant was on September 10, 2020. It is respectfully recommended that no action be taken at
this time, but rather allow the state authorities to execute the outstanding warrants. In the event the
defendant is arrested by state authorities a 12C will be submitted to the Court requesting a warrant.

Accordingly, the Court reserves the right to revisit these allegations in the future.


                                                       Respectfully submitted,

                                                       Bartosz Szatkowski
                                                       Senior United States Probation Officer
                                                       Date: 1/11/2021

Approved:       ______________________
                Craig A. Handy, Supervising
                United States Probation Officer



THE COURT ORDERS:

[X] No Action

[ ] Submit a Request for Modifying the Conditions or Term of Supervision

[ ] Submit a Request for Warrant or Summons

[ ] Other
                                                       __________________________
                                                       Honorable Susan Hightower
                                                       United States Magistrate Judge
                                                              January 11, 2021
                                                       Date: _______________
